 Case 2:19-cv-10860-MCS-PLA Document 96 Filed 07/16/21 Page 1 of 3 Page ID #:2147



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   Lead Counsel for Lead Plaintiffs and the
11 Class
12 [Additional counsel appear on signature page]
13                        UNITED STATES DISTRICT COURT
                         CENTRAL DISTRICT OF CALIFORNIA
14                             WESTERN DIVISION
15
16   In re Mattel, Inc. Securities Litigation   Case No. 2:19-cv-10860-MCS (PLAx)
17
                                                PLAINTIFFS’ NOTICE OF
18                                              MOTION AND MOTION TO
                                                COMPEL DISCOVERY FROM
19                                              PRICEWATERHOUSECOOPERS
                                                LLP
20
                                                Date: August 11, 2021
21                                              Time: 10:00 a.m.
                                                Ctrm: 780, 7th Floor
22
                                                Discovery Cutoff: December 3, 2021
23                                              Pretrial Conf.: Not Set
                                                Trial Date: Not Set
24
                                                The Honorable Paul L. Abrams
25
                                                DISCOVERY MATTER
26
27
28

                                                        NOTICE OF MOTION AND MOTION TO COMPEL
                                                                  CASE NO. 19-CV-10860-MCS (PLAx)
 Case 2:19-cv-10860-MCS-PLA Document 96 Filed 07/16/21 Page 2 of 3 Page ID #:2148



 1 TO THE COURT, ALL PARTIES, AND THEIR ATTORNEYS OF RECORD:
 2        PLEASE TAKE NOTICE that, on August 11, 2021 at 10:00 a.m. or at the
 3 Court’s earliest convenience, before the Honorable Paul L. Abrams, Chief Magistrate
 4 Judge, Roybal Federal Building and United States Courthouse, 255 E. Temple Street,
 5 Los Angeles, CA, 90012, Courtroom 780, 7th Floor, Court-appointed Lead Plaintiffs
 6 DeKalb County Employees Retirement Plan and New Orleans Employees’ Retirement
 7 System will, and hereby do, respectfully move this Court for an order compelling
 8 Defendant PricewaterhouseCoopers LLP (“PwC”) to: (i) search for and produce
 9 documents dated between May 2017 and July 31, 2017 that are responsive to Plaintiffs’
10 document requests ; (ii) search for and produce emails and quarterly workpapers dated
11 between March 2, 2018 and August 2019; and (iii) supplement its responses to
12 Plaintiffs’ Interrogatory No. 4 by providing the requested information about its oral
13 presentations to the Securities Exchange Commission and Department of Justice
14 concerning the fraud at issue.
15        The motion is supported by the following Joint Stipulation detailing the parties’
16 respective positions, including the accompanying Declaration of John Rizio-Hamilton
17 in Support of Joint Stipulation Regarding Plaintiffs’ Motion to Compel Discovery from
18 PricewaterhouseCoopers LLP and all exhibits attached thereto. This motion is made
19 following conferences of counsel pursuant to Local Rules 7-3 and 37-1, including on
20 April 30, 2021; May 21, 2021; and June 7, 2021.
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                                                       NOTICE OF MOTION AND MOTION TO COMPEL
                                                                  CASE NO. 19-CV-10860-MCS (PLAx)
 Case 2:19-cv-10860-MCS-PLA Document 96 Filed 07/16/21 Page 3 of 3 Page ID #:2149



 1   Dated: July 16, 2021           Respectfully submitted,
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 3
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                                                  NOTICE OF MOTION AND MOTION TO COMPEL
                                                             CASE NO. 19-CV-10860-MCS (PLAx)
